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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

 ERNEST BENAVENTE,

                Plaintiff,

          vs.                                            CIV. NO. 1:21-cv-00235-SMV

 KILOLO KIJAKAZI,
 Acting Commissioner of
 Social Security,

                Defendant.

                            ORDER ON DEFENDANT’S
                    UNOPPOSED MOTION FOR EXTENSION OF TIME

         Upon consideration of Defendant’s Second Unopposed Motion for Extension of Time to

file Defendant’s response brief (Doc. 21), the Court having reviewed the motion and being

otherwise fully advised, FINDS that the motion is well taken and GRANTED.

         IT IS THEREFORE ORDERED that Defendant shall have until January 5, 2022, to file a

response to Plaintiff’s opening brief, and Plaintiff shall have until January 19, 2022, to file a

reply.

         SIGNED: December 6, 2021

                                               BY THE COURT:

                                               ___________________________________

                                               STEPHAN M. VIDMAR
                                               United States Magistrate Judge
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SUBMITTED AND APPROVED BY:

Filed Electronically 12/6/2021
MELISSA C. SCHUENEMANN
Special Assistant United States Attorney

Electronically approved 12/6/2021
LAURA J. JOHNSON
Attorney for Plaintiff




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